         Case 1:17-cv-01490-RHH Document 42 Filed 06/01/18 Page 1 of 1


               In the United States Court of Federal Claims


                                        No. 17-1490 C


ELIAS GROUP, LLC
          Plaintiff


         v.                                               JUDGMENT

THE UNITED STATES
          Defendant

         and

VISION PLANNING &
CONSULTING, LLC
          Defendant-Intervenor



       Pursuant to the court’s Order and Opinion, filed May 29, 2018, granting defendant’s
motion to dismiss,

      IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that plaintiff’s
amended complaint is dismissed for lack of jurisdiction. No costs.



                                                   Lisa L. Reyes
                                                   Clerk of Court

June 1, 2018                                By:    s/ Debra L. Samler

                                                   Deputy Clerk




NOTE: As to appeal, 60 days from this date, see RCFC 58.1, re number of copies and listing of
all plaintiffs. Filing fee is $505.00.
